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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

ESTATE OF CHRISTOPHER                     )
BROOK FISHBECK, et al.,                   )
                                          )
                  Plaintiffs,             )
                                          )            Civil Action No. 1:18-cv-2248-CRC
      v.                                  )
                                          )
THE ISLAMIC REPUBLIC OF IRAN, et al.,     )
                                          )
                  Defendants              )
__________________________________________)

  [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO ADMIT CERTAIN
  EXHIBITS AS EVIDENCE AND TO ADMIT EXPERT REPORTS BEFORE TRIAL

       Upon consideration of Plaintiffs’ Motion to Admit Certain Exhibits as Evidence and to

Admit Expert Reports Before Trial and the evidence attached thereto, the Court hereby

GRANTS said motion.

       SO ORDERED.




Dated: __________________                                 _________________________
                                                          Hon. Christopher R. Cooper
                                                          United States District Judge
